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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

    Keenan’s Kids Foundation,
    Inc.,
      Plaintiff,
         v.                                        CIVIL ACTION FILE
                                                   NO. 1:20-cv-01702-WMR

    Sean Claggett,


      Defendant.


                            SCHEDULINGORDER

        The above entitled action is presently before the Court pursuant to the filing

of the parties' Joint Preliminary Report and Discovery Schedule [15]. The Court has

reviewed and approves the parties Joint Preliminary Report and Discovery Schedule.

Accordingly,

        IT IS HEREBY ORDERED the eight-month discovery deadline is May 19,

2021.1 Any motions to amend the pleadings must have obtained prior permission of

the court to file any motion to amend. Any Motions for Summary Judgment must be



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 The Court notes that this case was originally assigned to a four months discovery tract; however,
the parties have requested eight months of discovery. The Court grants the parties’ request for
additional discovery; however, the Court does not anticipate granting any additional requests to
extend discovery or summary judgment deadlines past those listed in this Order.
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filed by June 19, 2021, and if no Motions for Summary Judgment are filed, the

Proposed Consolidated Pretrial Order will be due on June 19, 2021. However, if a

Motion for Summary Judgment is filed, the Proposed Consolidated Pretrial Order

will be due within 30 days of the Court's ruling on the Motion for Summary

Judgment. The parties may not evade the page limitations of Local Rule 7.1(D) by

filing multiple Motions for Summary Judgment after the close of the discovery

period.

      IT IS FURTHER ORDERED that the parties are directed to adhere to the

above deadlines. Any motions requesting extensions of time must be made prior to

the existing deadline and will be granted only in exceptional cases where the

circumstances on which the request is based did not exist or the attorney(s) could

not have anticipated that such circumstances would arise at the time the Preliminary

Planning Report was filed. Failure to comply with this order, may result in the

imposition of sanctions, including the dismissal of this action. Within 10 days from

the entry of this Order, counsel for the parties are directed to confer and determine

whether any party will likely be requested to disclose or produce substantial

information from electronic or computer-based media. If so, the parties are directed

to determine: (a) whether disclosure or production will be limited to data reasonably

available to the parties in the ordinary course of business; (b) the anticipated scope,

cost and time required for disclosure or production of data beyond what is reasonably
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available to the parties in the ordinary course of business; (c) the format and media

agreed to by the parties for the production of such data as well as agreed procedures

for such production; (d) whether reasonable measures have been taken to preserve

potentially discoverable data from alteration or destruction in the ordinary course of

business or otherwise; and (e) whether there are other problems which the parties

anticipate that may arise in connection with electronic or computer-based discovery.

Counsel are directed to the American Bar Association Section of Litigation Civil

Discovery Standards § 29 (August 1999) (available upon request from the Court) for

guidance. Any agreements as to the foregoing shall be set forth in a written

agreement or consent order. If there are substantial disagreements, a discovery

conference with the Court should be requested. Counsel are directed to comply with

the Federal Bar Association’s Standards for Civility in Professional Conduct (1998)

(available from the FBA web site or upon request from the Court). In the conduct of

depositions, counsel are ordered to comply with Federal Rule of Civil Procedure

30(c)(2) ("An objection must be stated concisely in a nonargumentative and

nonsuggestive manner. A person may instruct a deponent not to answer only when

necessary to preserve a privilege, to enforce a limitation ordered by the court, or to

present a motion under Rule 30(d)(3)."); and may be sanctioned for obstructionist

tactics pursuant to Rule 30(d)(2)("The court may impose an appropriate sanction--
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including the reasonable expenses and attorney's fees incurred by any party--on a

person who impedes, delays, or frustrates the fair examination of the deponent.").

      Parties wishing any document filed as part of the record under seal must first

present a motion and/or consent order regarding said document to the Court. The

Clerk of Court is not authorized to accept for filing any document designated as

sealed without an order from the Court approving specific documents to be filed

under seal.

      The Clerk is directed to submit this action on June 20, 2021, if the parties

have not filed a Motion for Summary Judgment or Proposed Pretrial Order.

      SO ORDERED, this 6th day of October, 2020.
